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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      *
                                               *
        v.                                     *    CRIMINAL NO. 23-cr-257 (TSC)
                                               *
 DONALD J. TRUMP,                              *
                                               *
               Defendant.                      *
                                               *

                         GOVERNMENT’S NOTICE OF FILING

       The Government hereby gives notice that on September 4, 2024, it filed with the Court,

through the Classified Information Security Officer, a document titled “Government’s Classified,

Ex Parte, In Camera, and Under Seal Notice Regarding Classified Discovery.”



                                                   Respectfully submitted,

                                                   JACK SMITH
                                                   Special Counsel

                                            By:    /s/Thomas P. Windom
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